        Case 1:21-cr-00056-CKK Document 14-1 Filed 04/28/21 Page 1 of 8




                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia



                                                                   April 28, 2021

BY EMAIL
Eugene Ohm, Esq.
Assistant Federal Public Defender
625 Indiana Ave NW
Washington, D.C. 20004
202-258-7500
eugene_ohm@fd.org


                      Re:    United States v. William Vogel
                             Criminal No. 2021-CR-56 (CKK)
Dear Counsel:

       Attached please find additional discovery in this matter, which is being provided through
a shared file on USA File Exchange titled “US v. William Vogel, 21-cr-56”:

Platform   Quantity    Description                                                  Production
                                                                                    Date
USAfx      1 pdf       0176-NY 3368360_0000002.pdf                                  4/28/2021
                          • (U//FOUO) Spot check surveillance of 25 Holmes
                             Road, Holmes, NY 12531
USAfx      1 jpg       0176-NY-3368360_0000002_1A0000001_0000001.jpg                4/28/2021
                          • (U//FOUO) 25_Holmes_Rd.1.10.21.jpg

USAfx      1 doc       0176-NY-3368360_0000003_Import.docx                          4/28/2021
                          • (U) CLEAR_VOGEL_WILLIAM_06161994.docx
                             (SENSITIVE – pursuant to protective order)

USAfx      1 pdf       0176-NY-3368360_0000004.pdf                                  4/28/2021
                          • (U) NYPD LPR Hits for VOGEL

USAfx      4 pdfs      0176-NY-3368360_0000004_1A0000002_0000001.pdf                4/28/2021
                          • (U//FOUO) NYPD_LPR_1-7-21_0000hrs.pdf
                       0176-NY-3368360_0000004_1A0000002_0000002.pdf


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                        • (U//FOUO) NYPD_LPR_1-6-21_0606hrs.pdf
                     0176-NY-3368360_0000004_1A0000002_0000003.pdf
                        • (U//FOUO) NYPD_LPR_1-6-21_2359hrs.pdf
                     0176-NY-3368360_0000004_Import.pdf
                        • (U//FOUO) NYPD_LPR_1-6-21_0605hrs.pdf

USAfx     1 pdf      0176-NY-3368360_0000005.pdf                           4/28/2021
                        • (U//FOUO) Spot check surveillance of 25 Holmes
                           Road, Holmes, NY 12531
USAfx     1 jpg      0176-NY-3368360_0000005_1A0000003_0000001.jpg         4/28/2021
                        • (U//FOUO) Spot_Check_Pic.jpg
USAfx     1 pdf      0176-NY-3368360_0000006.pdf                           4/28/2021
                        • (U) Maryland LPR Hits-VOGEL
USAfx     1 import   0176-NY-3368360_0000006_Import.pdf                    4/28/2021
          pdf           • (U//FOUO) Maryland
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                           _LPR_KDC4369_positive.pdf
USAfx     1 pdf      0176-NY-3368360_0000007.pdf                           4/28/2021
                        • (U) NJ LPR Hit-VOGEL
USAfx     1 import   0176-NY-3368360_0000007_Import.pdf                    4/28/2021
          pdf           • (U//FOUO) KDC4369_DEASIL-1.pdf
USAfx     1 import   0176-NY-3368360_0000008_Import.pdf                    4/28/2021
          pdf           • (U//FOUO) WILLIAM_VOGEL_Report.pdf
USAfx     1 import   0176-NY-3368360_0000009_Import.pdf                    4/28/2021
          pdf           • (U//FOUO)
                           Facebook_SIGNED_21sc67_Signed_Warrant.pdf
USAfx     1 pdf      0176-NY-3368360_0000010.pdf                           4/28/2021
                        • (U//FOUO) Spot check surveillance of 25 Holmes
                           Road, Holmes, NY 12531
USAfx     2 jpg      0176-NY-3368360_0000010_1A0000004_0000001.jpg         4/28/2021
                        • Photo attached to Spot Check Surveillance(1)
                     0176-NY-3368360_0000010_1A0000004_0000002.jpg
                        • (Photo attached to Spot Check Surveillance(2)

USAfx     1 pdf      0176-NY-3368360_0000011_Import.pdf                    4/28/2021
                        • (U//FOUO)
                           2021_01_12_ICE_HSI_Report_on_William_VOG
                           EL.pdf
                        (SENSITIVE – pursuant to protective order)

USAfx     1 pdf      0176-NY-3368360_0000012.pdf                           4/28/2021
                        • (U) Image of WILLIAM VOGEL
USAfx     1 jpg      0176-NY-3368360_0000012_Import.JPG                    4/28/2021
                        • (U) VOGEL_WILLIAM_DMV_Image.JPG


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USAfx     1 pdf    0176-NY-3368360_0000013.pdf                           4/28/2021
                      • (U//FOUO) Spot check surveillance of 25 Holmes
                         Road, Holmes, NY 12531
USAfx     3 jpg    0176-NY-3368360_0000013_1A0000005_0000001.jpg         4/28/2021
                      • Photo Attached to Spot Check Surveillance(1)
                   0176-NY-3368360_0000013_1A0000005_0000002.jpg
                      • Photo Attached to Spot Check Surveillance(2)
                   0176-NY-3368360_0000013_1A0000005_0000003.jpg
                      • Photo Attached to Spot Check Surveillance(3)

USAfx     1 pdf    0176-NY-3368360_0000015.pdf                           4/28/2021
                      • (U) Search Warrant Service-Facebook
USAfx     2 html   0176-NY-3368360_0000015_1A0000006_0000001.html        4/28/2021
                      • Related to Search Warrant to Facebook
                         (preservation)
                   0176-NY-3368360_0000015_1A0000006_0000002.html
                      • Related to Search Warrant to Facebook (Index)
USAfx     1 pdf    0176-NY-3368360_0000015_1A0000006_0000003.pdf         4/28/2021
                      • (U)
                         Facebook_SIGNED_21sc67_Signed_Warrant.pdf
USAfx     1 pdf    0176-NY-3368360_0000015_1A0000006_0000004.pdf         4/28/2021
                      • (U) Facebook_affidavit_will_vogel.pdf
USAfx     1 pdf    0176-NY-3368360_0000017.pdf                           4/28/2021
                      • (U) Interview of J.P. (Redacted)
USAfx     1 pdf    0176-NY-3368360_0000017_1A0000007_0000001.pdf         4/28/2021
                      • (U) Notes-J.P.Interview.pdf (Redacted)
USAfx     1 pdf    0176-NY-3368360_0000018.pdf                           4/28/2021
                      • (U//FOUO) Facebook Search Warrant return
USAfx     1 pdf    0176-NY-3368360_0000018_1A0000008_0000001.pdf         4/28/2021
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                         Facebook_SIGNED_Order_to_Seal.pdf
USAfx     1 pdf    0176-NY-3368360_0000018_1A0000008_0000002.pdf         4/28/2021
                      • (U//FOUO)
                         Facebook_SIGNED_21sc67_Signed_Warrant.pdf
USAfx     1 txt    0176-NY-3368360_0000018_1A0000009_0000001.txt         4/28/2021
                      • (U//FOUO) FB Read Me.txt
USAfx     1 pdf    0176-NY-3368360_0000018_1A0000009_0000002.pdf         4/28/2021
                      • (U//FOUO) Facebook_affidavit_will_vogel.pdf
USAfx     1 html   0176-NY-3368360_0000018_1A0000009_0000003.html        4/28/2021
                      • (U//FOUO) FB index.html
USAfx     1 html   0176-NY-3368360_0000018_1A0000009_0000004.html        4/28/2021
                      • (U//FOUO) FB preservation-1.html




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USAfx     1 pdf      0176-NY-3368360_0000019.pdf                                 4/28/2021
                        • (U) This lead is covered by Full Field Investigation
                           176-NY-3368360 with identified subject
                           WILLIAM VOGEL who created the referenced
                           video.
USAfx     1 pdf      0176-NY-3368360_20_MARKED_v2.pdf                            4/28/2021
                        • (U) Interview of J.W. (Redacted)
USAfx     1 pdf      0176-NY-3368360_20_attachment_MARKED_v2.pdf                 4/28/2021
                        • (U) J.W. Notes.pdf (Redacted)
USAfx     1 pdf      0176-NY-3368360_21_MARKED_v2.pdf                            4/28/2021
                        • (U) Interview of N.L. (Redacted)
USAfx     1 pdf      0176-NY-3368360_21_attachment_MARKED_v2.pdf                 4/28/2021
                        • (U) N.L. Notes.pdf. (Redacted)
USAfx     1 pdf      0176-NY-3368360_22_MARKED.pdf                               4/28/2021
                        • (U) Interview of T.S. (Redacted)
USAfx     1 pdf      0176-NY-3368360_22_attachment_MARKED.pdf                    4/28/2021
                        • (U) T.S. Notes.pdf (Redacted)
USAfx     1 pdf      0176-NY-3368360_0000023.pdf                                 4/28/2021
                        • (U//FOUO) Search Warrant Execution - William
                           Vogel, 68 West Main Street, Pawling, NY 12564
USAfx     1 pdf      0176-NY-3368360_24_MARKED.pdf                               4/28/2021
                        • (U//FOUO) Interview of W.W. (Redacted)
USAfx     1 pdf      0176-NY-3368360_24_attachment_MARKED.pdf                    4/28/2021
                        • (U//FOUO) W.W._InterviewNotes.pdf (Redacted)
USAfx     1 pdf      0176-NY-3368360_0000025.pdf                                 4/28/2021
                        • (U//FOUO) NCIC Results for DJS AR-15, Serial
                           DJS150856
USAfx     1 import   0176-NY-3368360_0000026_Import.pdf                          4/28/2021
          pdf           • (U//FOUO)
                           Vogel_eTrace_T20210036541_DJS_rifle_SN_DJS
                           15-0856.pdf
USAfx     1 import   0176-NY-3368360_0000027_Import.pdf                          4/28/2021
          pdf           • (U//FOUO) Vogel_AO_93C_w_attach_Signed.pdf
USAfx     1 pdf      0176-NY-3368360_0000028.pdf                                 4/28/2021
                        • (U//FOUO) Search of William Vogel Residence -
                           68 W Main Street, Pawling, NY 12564
USAfx     1 pdf      0176-NY-3368360_0000028_1A0000014_0000001.pdf               4/28/2021
                        • (U//FOUO) Evidence Collected Item
                           Log120509.pdf
USAfx     1 pdf      0176-NY-3368360_0000028_1A0000014_0000002.pdf               4/28/2021
                        • (U//FOUO) Search Warrant Execution
                           Log120443.pdf
USAfx     1 pdf      0176-NY-3368360_0000028_1A0000014_0000003.pdf               4/28/2021
                        • (U//FOUO) Receipt For Property and Search
                           Warrant Return120644.pdf

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USAfx     1 pdf      0176-NY-3368360_0000028_1A0000014_0000007.pdf            4/28/2021
                        • (U//FOUO) Consent To Search 120832.pdf

USAfx     1 pdf      0176-NY-3368360_0000028_1A0000014_0000008.pdf            4/28/2021
                        • (U//FOUO) Sketch of Search120748.pdf
USAfx     1 pdf      0176-NY-3368360_0000028_1A0000014_0000015.pdf            4/28/2021
                        • (U//FOUO) Crime Scene SIgn-in Log120412.pdf
USAfx     1 pdf      0176-NY-3368360_0000028_1A0000014_0000018.pdf            4/28/2021
                        • (U//FOUO) Vogel Photo Log150431.pdf
USAfx     1 Folder   Folder titled: Photos from Search Warrant of Residence   4/28/2021
                        • Containing 54 photos
USAfx     1 pdf      0176-NY-3368360_0000029.pdf                              4/28/2021
                        • (U) Arrest of WILLIAM VOGEL
USAfx     1 pdf      0176-NY-3368360_30_TTK_MARKED.pdf                        4/28/2021
                        • (U//FOUO) 030121-1116.pdf (Redacted)
USAfx     1 pdf      0176-NY-3368360_31_TTK_MARKED.pdf                        4/28/2021
                        • (U//FOUO) 03032021-1137.pdf (Redacted)
USAfx     1 pdf      0176-NY-3368360_32_TTK_MARKED.pdf                        4/28/2021
                        • (U//FOUO) 03032021_-_1650.pdf (Redacted)
USAfx     2 pdf      0176-NY-3368360_33.1_TTK_MARKED.pdf                      4/28/2021
                        • (U//FOUO) William_Vogel_Image_Results.pdf
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                     0176-NY-3368360_33.2_TTK_MARKED.pdf
                        • (U//FOUO) Will_Vogel_Image_Results.pdf (2)
                            (Redacted)
USAfx     1 pdf      0176-NY-3368360_35_MARKED.pdf                            4/28/2021
                        • (U//FOUO) 200121-1723.pdf (Redacted)
USAfx     1 pdf      0176-NY-3368360_36_MARKED.pdf                            4/28/2021
                        • (U//FOUO) 210121-0910.pdf (Redacted)
USAfx     1 pdf      0176-NY-3368360_0000037_1A0000003_0000001.pdf            4/28/2021
                        • (U) signed-21-sc-241_Search_Warrant.pdf
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                      • (U//FOUO) Spot check surveillance of 25 Holmes
                         Road, Holmes, NY 12531
USAfx     1 pdf    0176-NY-3368360-FISUR_0000003.pdf
                      • (U//FOUO) 1/23/2021 - Roving Surveillance in
                         Westchester County
USAfx     1 pdf    0176-NY-3368360-FISUR_0000004.pdf
                      • (U//FOUO) Spot check surveillance of locations
                         associated with William VOGEL
USAfx     1 pdf    0176-NY-3368360-GJ_0000002_Import.pdf                 4/28/2021
                      • (U) Snapchat Preservation Signed 1-14-21.pdf
USAfx     1 pdf    0176-NY-3368360-GJ_0000003_Import.pdf
                      • (U) AT&T Preservation Signed 1-14-21.pdf
USAfx     1 pdf    0176-NY-3368360-GJ_0000004_Import.pdf
                      • (U) Twitter Preservation Request.pdf
USAfx     1 pdf    0176-NY-3368360-GJ_0000005_Import.pdf
                      • (U) GOOGLE Preservation Request.pdf
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                      • (U//FOUO) Twitter Subpoena Results
USAfx     1 msg    0176-NY-3368360-                                      4/28/2021
                   GJ_0000011_1A0000001_0000001.msg
                      • (U//FOUO)
                         Twitter_Receipt_of_Information_Request_-
                         _FBI_ref00DA0000000K0A8.5004w000024rUzyr
                         ef.msg
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                      • (U//FOUO) AT&T Subpoena Results
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                   GJ_0000012_1A0000002_0000001.TIF
                      • (U//FOUO) Business_Cert.TIF
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                   GJ_0000012_1A0000002_0000002.pdf
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                   GJ_0000012_1A0000002_0000003.pdf
                      • (U//FOUO) ReportAU_3136136.pdf
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                   GJ_0000012_1A0000002_0000004.pdf
                      • (U//FOUO) ReportLandline_3136136.pdf
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                   GJ_0000012_1A0000002_0000005.pdf
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                     GJ_0000013_1A0000003_0000001.html
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                     GJ_0000013_1A0000003_0000002.pdf
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                     GJ_0000014_1A0000004_0000001.pdf
                        • (U//FOUO) SIGNED_21-MJ-
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                     GJ_0000014_1A0000004_0000003.pdf
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                     GJ_0000014_1A0000004_0000004.pdf
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                        • (U//FOUO) SIGNED_21-MJ-
                           159_Arrest_Warrant_Vogel.pdf
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                        • (U//FOUO) Snapchat Subpoena Results
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                     GJ_0000015_1A0000005_0000001.pdf
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                           Snapchat_GJ2021011769626_signed_return.pdf
USAfx     1 zip      0176-NY-3368360-                                   4/28/2021
          folder     GJ_0000015_1A0000005_0000002.zip
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          files            kejht.zip
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Case 1:21-cr-00056-CKK Document 14-1 Filed 04/28/21 Page 8 of 8




                                   Respectfully,

                                   CHANNING D. PHILLIPS
                                   ACTING UNITED STATES ATTORNEY


                            By:    _/s/ Jeffrey N. Poulin_______
                                   Jeffrey N. Poulin
                                   Assistant United States Attorney




                               8
